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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                                    3/24/2025
    FINANCIAL TECHNOLOGY PARTNERS LP, et
    al.                                               24 Civ. 4717 (VM)

                         Plaintiffs,                  DECISION AND ORDER

                  - against -

    CIRCLE INTERNET FINANCIAL LIMITED,

                         Defendant.


VICTOR MARRERO, United States District Judge.

        Plaintiffs   Financial     Technology     Partners     LP   and   FTP

Securities LLC (together, “FT Partners”) brought this action

against      defendant    Circle      Internet      Financial       Limited 1

(“Circle”) alleging Circle wrongfully terminated two advisory

agreements (the “Agreements”) between the parties and failed

to pay FT Partners various fees as required under those

Agreements. (See “Amend. Compl.,” Dkt. No. 40.) Circle now

moves to partially dismiss the Amended Complaint, arguing

that FT Partners’ claims for declaratory judgment, breach of

the implied covenant of good faith and fair dealing, and

unjust enrichment are precluded by the breach of contract

claims and warrant dismissal. (See “Def.’s Mot.,” Dkt. No.


1 FT Partners also named Circle’s subsidiaries Pluto Holdings, Inc.,
SeedInvest Technology LLC, SI Securities LLC, and SI Advisors I, LLC (the
“Subsidiaries”) as defendants in this matter. (See Dkt. Nos. 1, 40.) The
Court dismissed the Subsidiaries from this action on the basis of
fraudulent joinder on November 18, 2024. See Fin. Tech. Partners LP v.
Circle Internet Fin. Ltd., No. 24 Civ. 4717, 2024 WL 4817473, at *7
(S.D.N.Y. Nov. 18, 2024).



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72.) For the reasons discussed below, Circle’s motion to

partially dismiss the Amended Complaint is GRANTED.

                            I.      BACKGROUND

      A.   FACTUAL BACKGROUND

           1.     The Agreements

      FT Partners comprise an investment bank that specializes

in   advising    financial    technology      companies.       (See   Amend.

Compl. ¶ 3.) Circle, a financial technology company, engaged

FT   Partners    as   its    financial     advisor     in    two    separate

contracts: the Circle Agreement, entered into in May 2020,

and the SeedInvest Agreement, entered into in July 2020. (See

id. ¶¶ 2, 75, 110.) Under the Circle Agreement, FT Partners

would advise Circle on selling or raising capital on behalf

of itself. (See id. ¶ 75; “Circle Agreement,” Dkt. No. 40-

2.) The SeedInvest Agreement expanded FT Partners’ advisory

role to advise Circle on selling or raising capital on behalf

of its Subsidiaries. (See Amend. Compl. ¶ 110; “SeedInvest

Agreement,” Dkt. No. 40-3.)

      The Agreements had similar terms. (See Amend. Compl. ¶¶

110-24.) Under each, Circle was required to pay a quarterly

retainer   for   FT     Partners’    advisory    services,      along      with

percentage-based transaction fees for any completed sale or

capital raised. (See Circle Agreement § 2(a)-(b); SeedInvest




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Agreement § 2(a)-(b).) If Circle completed an alternative

transaction that was not a company sale or a capital raise,

the parties would negotiate FT Partners’ compensation in good

faith. (See Circle Agreement § 2(d); SeedInvest Agreement §

2(d).) Any retainer payments, to the extent paid, would be

applied against any transaction fee. (See Circle Agreement §

2(a); SeedInvest Agreement § 2(a).) Circle was not bound by

a proposed transaction and had discretion to reject an offer

for any reason. (See Circle Agreement § 2(f); SeedInvest

Agreement § 2(f).) However, if a transaction was completed

and Circle or an acquirer failed to timely pay the required

transaction fees, the unpaid fees would acquire interest at

the specified rate unless Circle contested the fees in good

faith. (See Circle Agreement § 2(e); SeedInvest Agreement §

2(e).)

        The Agreements also had the same termination clause. It

would remain in effect until a company sale was consummated

or Circle terminated the contract early for-cause, whichever

occurred first. (See Amend. Compl. ¶ 78(e)-(g).) However, the

Agreement would not automatically terminate upon completion

of a capital raise. (See Circle Agreement § 6; SeedInvest

Agreement § 6.) To authorize early termination, Circle’s

Board    of   Directors    was   required    to   make   a   good       faith

determination that FT Partners met one of the following


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termination criteria (each constituting a “Good Reason”): (a)

FT Partners materially breached its obligations under the

Agreement, which caused or was likely to cause material harm

to Circle, (b) FT Partners had a conflict of interest that

was materially detrimental to Circle and Circle did not waive

the conflict, or (c) neither Steven McLaughlin (“McLaughlin”)

nor Randall Little (“Little”) 2 served as lead or co-lead

advisors      on     behalf    of   FT    Partners        in    any      prospective

transaction. (See Circle Agreement § 6; SeedInvest Agreement

§ 6.) Termination was effective only if Circle then notified

FT Partners of the Good Reason and Circle’s Board of Directors

made a good faith determination that FT Partners failed to

cure the Good Reason, to the extent curable, within thirty

days. (See Circle Agreement § 6; SeedInvest Agreement § 6.)

       The termination clause included a provision that the

Agreement’s fee provision, among others, would survive any

termination of the Agreement. (See Circle Agreement § 6;

SeedInvest         Agreement    §   6.)       Moreover,        FT    Partners       were

entitled to any applicable transaction fee if, within twelve

months of a valid termination, Circle consummated or entered

into    any    agreement         that     subsequently              resulted    in     a




2 McLaughlin is the founder and CEO of FT Partners. (See Amend. Compl. ¶
3.) Little was the managing director of FT Partners until his departure
in May 2023. (See id. ¶¶ 152, 247.)



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transaction (the “Tail Period”). (See Circle Agreement § 6;

SeedInvest Agreement § 6.)

           2.    Termination of the Agreements

     By April 2022, the relationship between Circle and FT

Partners   had   soured       and   Circle    terminated      the   Circle

Agreement. (See Amend. Compl. ¶ 230.) The termination letter

stated that Circle’s Board of Directors had determined in

good faith that (a) FT Partners materially breached its

obligations to Circle, which caused or was likely to cause

material harm to Circle, (b) FT Partners had conflicts of

interest materially detrimental to Circle, which had not been

waived by Circle, and (c) neither Steven McLaughlin nor

Randall Little were the lead or co-lead advisors for FT

Partners in any prospective transaction. (See id.) Circle’s

Board of Directors further determined that none of these Good

Reasons had been or could be cured. (See id.) In August 2022,

Circle   terminated     the    SeedInvest     Agreement     on    the    same

grounds stated in the Circle Agreement termination letter.

(See id. ¶ 267.)

     Following    the   termination      of   the   Circle       Agreement,

Circle announced a $401 million capital raise with four

investors, which closed in May 2022 (the “May 2022 Capital

Raise”). (See id. ¶¶ 256-57.) In October 2022, Circle and

several of its Subsidiaries entered into an asset purchase


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agreement    with    third-party     purchasers        and     the    relevant

Subsidiaries    were    acquired    in    May   2023      (the     “SeedInvest

Acquisition”). (See id. ¶ 287.) In August 2023, Circle entered

into a share transfer agreement (the “August 2023 Capital

Raise”) with a third-party, in which Circle sold a percentage

of its fully diluted equity valued at $51.1 million. (See id.

¶ 305.)

       Based on the May 2022 Capital Raise, the SeedInvest

Acquisition, and the August 2023 Capital Raise, FT Partners

sent   Circle   several      invoices    requesting       payment      for   the

corresponding transaction fees. (See id. ¶¶ 43, 261, 292,

301.) Pursuant to the Circle Agreement, FT Partners sought

$28.07 million in fees in connection to the May 2022 Capital

Raise and $3.577 million in fees in connection to the August

2023 Capital Raise. (See id. ¶¶ 34, 43.) Pursuant to the

SeedInvest Agreement, FT Partners sent a preliminary invoice

requesting the necessary information to enable calculation of

the    transaction     fee   in   connection     with        the     SeedInvest

Acquisition. (See id. ¶ 292.) Circle refused to pay these

invoices or to provide the requested information on the

grounds that it had previously terminated the Agreements.

(See id. ¶¶ 43, 262, 292, 301-02.)




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       B.        THE PRESENT ACTION

       On May 28, 2024, FT Partners commenced this action

against Circle and its Subsidiaries in New York State Supreme

Court, New York County (the “State Court”). (See Dkt. No. 1.)

Circle and its Subsidiaries subsequently removed the case to

this Court on the basis of diversity jurisdiction under 28

U.S.C.      §§    1332(a),    1441(a),      and    1441(b).    (See    id.)   In

response, FT Partners filed a motion to remand, arguing that

this Court did not have jurisdiction because the Subsidiaries

were   not       diverse   parties.     (See      Dkt.   No.   42.)   Following

briefing by the parties, the Court denied FT Partners’ motion

to remand, finding that FT Partners could not state claims

for breach of contract, breach of the implied covenant of

good faith and fair dealing, or unjust enrichment against the

Subsidiaries        and    thus   the   Subsidiaries      were    fraudulently

joined. See Fin. Tech. Partners LP, 2024 WL 4817473, at *3-

7. As a result, the Court dismissed the Subsidiaries from

this action. Id. at *7.

       Following the dismissal of the Subsidiaries, FT Partners

and Circle exchanged pre-motions letters in anticipation of

Circle’s motion to dismiss in accordance with this Court’s

Individual Practices. (See Dkt. No. 66.) Unable to resolve

the dispute through pre-motion letters, Circle subsequently

filed its motion to dismiss with an accompanying memorandum


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of law, (see “Def.’s Mem.,” Dkt. No. 72-1), to which FT

Partners filed an opposition, (see “Pls.’ Opp’n,” Dkt. No.

73), and Circle filed a reply. (See “Def.’s Reply,” Dkt. No.

74.)

                           II.   STANDARD OF REVIEW

        “To survive a motion to dismiss, a complaint must contain

sufficient factual matter, accepted as true, to ‘state a claim

to relief that is plausible on its face.’” Ashcroft v. Iqbal,

556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly,

550 U.S. 544, 570 (2007)). A claim is plausible if the

complaint        states     “enough   fact      to   raise     a   reasonable

expectation that discovery will reveal evidence of illegal’

conduct” — there is not “a probability requirement at the

pleading stage.” Lynch v. City of New York, 952 F.3d 67, 75

(2d Cir. 2020) (quoting Twombly, 550 U.S. at 556); see Iqbal,

556 U.S. at 678 (“A claim has facial plausibility when the

plaintiff pleads factual content that allows the court to

draw the reasonable inference that the defendant is liable

for the misconduct alleged.”). “In other words, a complaint

should     not     be     dismissed   when     the    factual      allegations

sufficiently ‘raise a right to relief above the speculative

level.’” Liboy v. Russ, No. 22 Civ. 10334, 2023 WL 6386889,

at *4 (S.D.N.Y. Sept. 29, 2023) (quoting Twombly, 550 U.S. at

555).


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       In reviewing a motion to dismiss under Federal Rule of

Civil Procedure 12(b)(6), the Court must “constru[e] the

complaint liberally, accepting all factual allegations in the

complaint as true, and drawing all reasonable inferences in

the plaintiff's favor.” Goldstein v. Pataki, 516 F.3d 50, 56

(2d    Cir.    2008)    (citation     omitted).         The   Court     may     also

“consider     documents      attached       to   the    pleadings,      documents

referenced in the pleadings, or documents that are integral

to the pleadings in order to determine if a complaint should

survive a [Federal Rule of Civil Procedure] 12(b)(6) motion.”

Garcia v. Lewis, No. 05 Civ. 1153, 2005 WL 1423253, *3

(S.D.N.Y. June 16, 2005).

                                 III. DISCUSSION

       FT Partners bring several claims under New York law

alleging that Circle wrongfully terminated the Agreements and

failed to pay FT Partners various fees as required under those

contracts. Circle does not move to dismiss the breach of

contract claims regarding the Circle Agreement (Count II) or

the SeedInvest Agreement (Count III). Rather, Circle argues

that   FT     Partners’     remaining       claims      should     be   dismissed

because they are duplicative of the breach of contract claims.

(See   Def.’s       Mem.)   FT    Partners’      remaining       claims    are    as

follows:      (1)    declaratory      judgment         regarding     the   Circle




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Agreement (Count I), 3 (2) breach of the implied covenant of

good faith and fair dealing regarding the Circle Agreement

(Count IV) and the SeedInvest Agreement (Count V), and (3)

unjust enrichment regarding the Circle Agreement (Count VI)

and the SeedInvest Agreement (Count VII). For the reasons

explained below, the Court finds that FT Partners’ claims for

declaratory    relief,    breach   of   the    implied    covenant,      and

unjust enrichment are precluded by the duplicative breach of

contract claims and warrant dismissal.

      A.    DECLARATORY RELIEF

      FT Partners’ declaratory judgment and breach of contract

claims regarding the Circle Agreement both allege invalid

termination of the Agreement because Circle (1) did not have

a Good Reason for terminating the contract, (2) did not make

a good faith determination that such a Good Reason existed,

and (3) did not provide FT Partners timely notice or an

opportunity to cure the Good Reason. (See Amend. Compl. ¶¶

315, 319(a).) However, the claim for declaratory relief also

seeks a declaration that the Circle Agreement has been and

remains in full force and effect. (See id. ¶ 315.) The parties

dispute whether this distinction is sufficient to sustain FT




3 FT Partners do not seek a declaratory judgment regarding the SeedInvest

Agreement.



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Partners’ claim for declaratory judgment. (See Def.’s Mem. at

9-14; Pls.’ Opp’n at 10-17; Def.’s Reply at 1-9.)

      “Declaratory relief is a prospective remedy intended to

resolve    or   mitigate     disputes      that    may     yield     later

litigation.” EFG Bank AG, Cayman Branch v. AXA Equitable Life

Ins. Co., 309 F. Supp. 3d 89, 99 (S.D.N.Y. 2018). However,

“[c]ourts routinely dismiss requests for declaratory judgment

when the parties' rights will be adjudicated through a breach

of contract claim in the same action.” Talkdesk, Inc. v.

Unique Travel Corp., No. 23 Civ. 9543, 2024 WL 4904684, at *5

(S.D.N.Y. Nov. 27, 2024) (citation omitted); Piven v. Wolf

Haldenstein Adler Freeman & Herz L.L.P., No. 08 Civ. 10578,

2010 WL 1257326, at *11 (S.D.N.Y. Mar. 12, 2010) (“[C]ourts

have found declaratory judgment to be inappropriate where a

party has already invoked its right to a coercive remedy,”

such as breach of contract).

      The Declaratory Judgment Act, 28 U.S.C. § 2201, affords

district courts “a broad grant of discretion” to “refuse to

exercise jurisdiction over a declaratory action that they

would otherwise be empowered to hear.” Dow Jones & Co. v.

Harrods Ltd., 346 F.3d 357, 359 (2d Cir. 2003). Although not

required, a district court may exercise jurisdiction over a

declaratory action if the declaratory judgment will “serve a

useful purpose in clarifying or settling the legal issues


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involved,” or “finalize the controversy and offer relief from

uncertainty”      rather     than      raise     concerns      of     “judicial

efficiency and judicial economy” or that the proposed remedy

“is being used merely for procedural fencing or a race to res

judicata” or would increase friction between separate legal

systems. See Admiral Ins. Co. v. Niagara Transformer Corp.,

57 F.4th 85, 99-100 (2d Cir. 2023) (citations and alterations

omitted). A district court may also consider whether “there

is a better or more effective remedy” than declaratory relief.

Id. at 100 (citation omitted).

      Taking   account      of    these      considerations,         the     Court

declines to exercise jurisdiction over FT Partners’ claim for

declaratory relief. Here, a declaratory judgment will not

clarify or settle the pertinent legal issues or finalize the

controversy. Rather, whether Circle effectively terminated

the Circle Agreement is an issue that will necessarily be

decided in the resolution of the breach of contract claim.

See Lim v. Radish Media Inc., No. 22-1610, 2023 WL 2440160,

at *2 (2d Cir. Mar. 10, 2023); see also Talkdesk, Inc., 2024

WL 4904684, at *6 (claim for declaratory relief dismissed as

duplicative    of   breach       of   contract     claim     where    plaintiff

sought declaration that defendant did not validly terminate

the   agreement     and    that       the    agreement       was     valid    and

enforceable); Honeywell Int’l Inc. v. Ecoer Inc., No. 24 Civ.


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1464,    2024    WL     3521591,   at       *8    (S.D.N.Y.        July       23,   2024)

(dismissing claim for declaratory judgment because whether

defendant     effectively      terminated           the   contract        “would      not

clarify the parties’ legal relations in any way that will not

already be accomplished by resolving the [breach of contract]

claims”).

        FT Partners’ breach of contract claim, which allows for

damages,      also    constitutes       a    more      effective         remedy      than

declaratory relief. See Talkdesk, Inc., 2024 WL 4904684, at

*6 (“[G]iven the damages available through the breach of

contract claim, there exists a better or more effective remedy

at   hand.”     (citation     omitted)).           Nonetheless,          FT    Partners

insist that declaratory relief may provide a more effective

remedy. To advance this argument, FT Partners maintain that

Circle’s refusal to stipulate that the Circle Agreement is in

full force and effect shows that, should FT Partners succeed

on the breach of contract claim, a declaratory judgment may

provide additional relief. (See Pls.’ Opp’n at 10-11.) FT

Partners’ conclusory speculation does not explain how the

breach of contract claim embodies an inadequate alternative

to the declaratory judgment claim. See Pers. Watercraft Prod.

SARL v. Robinson, No. 16 Civ. 9771, 2017 WL 4329790, at *11

(S.D.N.Y.       Sept.    1,   2017)     (speculation              that    declaratory




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judgment would provide additional relief beyond successful

breach of contract claim was insufficient).

        FT   Partners    also    argue    that   declaratory       relief    is

warranted because FT Partners consider the Circle Agreement

to be in full force and effect and thus Circle may owe FT

Partners fees for future transactions, in addition to damages

for past conduct. (See Pls.’ Opp’n at 11-12.) However, FT

Partners’ breach of contract claim includes an allegation

that Circle committed an anticipatory breach of the Circle

Agreement by refusing to pay all future transaction fees,

rendering     declaratory       relief    superfluous       even   for future

conduct. (See Amend. Compl. ¶ 319(e).) See Fleisher v. Phoenix

Life Ins. Co., 858 F. Supp. 2d 290, 302 (S.D.N.Y. 2012)

(anticipatory breach of contract claim subsumed declaratory

judgment claim regarding future conduct); see also Ambac

Assurance Corp. v. U.S. Bank Nat’l Ass’n, No. 21-70, 2021 WL

6060710, at *5 (2d Cir. Dec. 20, 2021) (declaratory judgment

claim    regarding      future    distributions      was     duplicative     of

breach of contract claim). Moreover, to the extent that these

future transactions are hypothetical, “under the Declaratory

Judgment Act, a court may not adjudicate ‘a difference or

dispute of a hypothetical or abstract character’ or ‘one that

is academic or moot.’” U.S. Bank Nat. Ass’n ex rel. Lima

Acquisition LP v. PHL Variable Ins. Co., No. 12 Civ. 6811,


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2014 WL 998358, at *10 (S.D.N.Y. Mar. 14, 2014) (quoting Aetna

Life Ins. Co. of Hartford, Conn. v. Haworth, 300 U.S. 227,

240 (1937)).

      The   considerations    of   judicial      efficiency,     judicial

economy, procedural fencing, and friction between separate

legal states are not implicated here, as there is no parallel

litigation pending in other jurisdictions. See Admiral Ins.

Co., 57 F.4th at 99-100. Thus, for the reasons explained

above, the Court dismisses FT Partners’ declaratory judgment

claim regarding the Circle Agreement (Count I).

      B.    IMPLIED COVENANT OF GOOD FAITH AND FAIR DEALING

      The implied covenant of good faith and fair dealing,

implicit in every contract, is a promise that “neither party

to a contract shall do anything that has the effect of

destroying or injuring the right of the other party to receive

the fruits of the contract, or to violate the party's presumed

intentions or reasonable expectations.” JN Contemp. Art LLC

v. Phillips Auctioneers LLC, 29 F.4th 118, 128 (2d Cir. 2022)

(citation omitted). “The implied covenant is breached when a

party acts in a manner that, although not expressly forbidden

by any contractual provision, would deprive the other party

of the right to receive the benefits under their agreement.”

Melville v. HOP Energy, LLC, No. 21 Civ. 10406, 2023 WL

2648775, at *8 (S.D.N.Y. Mar. 27, 2023) (citation omitted).


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      However, New York law “does not recognize a separate

cause of action for breach of the implied covenant of good

faith and fair dealing when a breach of contract claim, based

upon the same facts, is also pled.” Harris v. Provident Life

& Accident Ins. Co., 310 F.3d 73, 81 (2d Cir. 2002); Kitchen

Winners NY Inc. v. Rock Fintek LLC, 668 F. Supp. 3d 263, 288

(S.D.N.Y. 2023) (“Under New York law, claims are duplicative

when both arise from the same facts and seek the identical

damages for each alleged breach.” (citation omitted)). Thus,

to successfully plead both types of claims, “a plaintiff must

thread   the   needle   of   alleging     an   implied     duty   that   is

consistent with the express contractual terms, but based on

allegations that are distinct from the factual predicate for

its contract claims.” WCA Holdings III, LLC v. Panasonic

Avionics Corp., 704 F. Supp. 3d 473, 499 (S.D.N.Y. 2023)

(citation and alternations omitted).

      FT Partners’ claims for breach of contract and breach of

the    implied    covenant    regarding        both      Agreements      are

duplicative. Both sets of claims are based on the same factual

allegations: that Circle improperly terminated the Agreements

at issue, which was not done in good faith and without proper

notice, and that Circle has not paid the transaction fees




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required under the Agreements. 4 (See Amend. Compl. ¶¶ 319,

327, 331-32, 336-39.) Moreover, FT Partners seek the same

damages for each alleged breach of the respective Agreements.

(See id. ¶¶ 45, 320, 328; id. at 105-06.) See Quintanilla v.

WW Int’l, Inc., 541 F. Supp. 3d 331, 352-53 (S.D.N.Y. 2021).

        Nonetheless,       FT    Partners       insist     that      the      breach     of

contract claims and the breach of the implied covenant claims

are     distinct     because           pretextual       termination            may      not

constitute a breach of the Agreements’ express terms, and

therefore cannot be remedied through a breach of contract

claim. (See Pls.’ Opp’n at 18-19.) FT Partners allege that

Circle       manufactured        the     existence       of      Good      Reasons       to

terminate      the   Agreements.         (Id.     at    19.)       For    example,      in

terminating the Agreements, Circle cited the Good Reason that

neither       McLaughlin        nor     Little      were       involved            in   any

prospective      transactions.          (See     Amend.       Compl.      ¶    246.)     FT

Partners allege that termination on this basis was invalid,

as     (1)   McLaughlin         was    not     involved       in    the       underlying

transactions because Circle demanded that he cease all work

relating to Circle and (2) Little was always the lead or co-

lead     advisor     for    FT        Partners     in    its       work       on    Circle


4 In denying FT Partners’ motion to remand, this Court concluded that FT
Partners’ breach of contract and breach of the implied covenant claims
regarding the SeedInvest Agreement were based on the same factual
allegations and dismissed the implied covenant claim against the
Subsidiaries. See Fin. Tech. Partners LP, 2024 WL 4817473, at *6.



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transactions. (See id. ¶¶ 181, 247.) Circle argues that the

allegations that Circle manufactured grounds for termination,

failed to meet the contractual preconditions for termination,

or both, center on whether Circle breached the Agreements’

termination provisions, including the express requirement of

good faith. (See Def.’s Reply at 10.)

      FT Partners’ breach of the implied covenant allegations

are encompassed by whether Circle breached the express terms

of the Agreements. See Ghost in the Mach. Inc. v. Planned

Parenthood Fed’n of Am., Inc., No. 22 Civ. 9270, 2025 WL

252913, at *5 (S.D.N.Y. Jan. 21, 2025) (breach of implied

covenant claim based “on an action that breaches the express

terms of a contract” will be dismissed as duplicative). FT

Partners’ allegations that Circle pretextually terminated the

Agreements are not distinct from the breach of contract

allegations: that the Agreements were improperly terminated

because Circle did not make a good faith determination that

a   Good    Reason   existed,   as      expressly          required   by     the

termination clauses. See JN Contemp. Art LLC v. Phillips

Auctioneers LLC, 507 F. Supp. 3d 490, 505 (S.D.N.Y. 2020)

(allegation     that    defendant       pretextually          canceled       the

agreement     was    duplicative     of     the    breach       of    contract

allegation that defendant had an obligation to perform under

the agreement because it was improperly terminated).


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      Because the breach of the implied covenant claims arise

from the same facts and seek the same remedies as the breach

of contract claims, FT Partners cannot sustain the implied

covenant claims. See Deutsche Bank Nat’l Tr. Co. v. Quicken

Loans Inc., 810 F.3d 861, 869 (2d Cir. 2015). Thus, FT

Partners’ breach of the implied covenant of good faith and

fair dealing claims regarding the Circle Agreement (Count IV)

and the SeedInvest Agreement (Count V) are dismissed.

      C.    UNJUST ENRICHMENT

      Unjust enrichment “rests upon the equitable principle

that a person shall not be allowed to enrich himself unjustly

at the expense of another.” Network Enters., Inc. v. Reality

Racing, Inc., No. 09 Civ. 4664, 2010 WL 3529237, at *7

(S.D.N.Y. Aug. 24, 2010) (quoting IDT Corp. v. Morgan Stanley

Dean Witter & Co., 907 N.E.2d 268, 274 (N.Y. 2009)). FT

Partners’   may   plead   unjust      enrichment    as   an   alternative

theory of recovery to a breach of contract claim where the

validity or enforceability of a written agreement is disputed

or the written agreement does not cover the full scope of the

dispute between the parties. See Air Atlanta Aero Eng’g Ltd.

v. SP Aircraft Owner I, LLC, 637 F. Supp. 2d 185, 195

(S.D.N.Y. 2009); ADYB Engineered for Life, Inc. v. Edan Admin.

Servs. Ltd., No. 19 Civ. 7800, 2021 WL 1177532, at *22

(S.D.N.Y. Mar. 29, 2021). However, “[t]he existence of a valid


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and   enforceable       written   contract     governing        a   particular

subject    matter   ordinarily          precludes     recovery        in   quasi

contract for events arising out of the same subject matter.”

Air Atlanta Aero Eng’g Ltd., 637 F. Supp. 2d at 195 (quoting

Clark–Fitzpatrick, Inc. v. Long Island R.R. Co., 516 N.E.2d

190, 193 (N.Y. 1987)).

      Here, the parties do not challenge the validity of the

Agreements but disagree on whether the Agreements cover the

full scope of their disputes. FT Partners argue that the

Agreements do not address (1) whether FT Partners are entitled

to compensation for their work on the SeedInvest Acquisition

and the May 2022 Capital Raise, which was performed prior to

Circle’s   termination      of    the    Agreements,       or   (2)    assuming

Circle’s terminations were valid, whether FT Partners are

entitled to transaction fees for the SeedInvest Acquisition

and May 2022 Capital Raise because those transactions were

consummated    after     Circle   terminated        the    Agreements.      (See

Pls.’ Opp’n at 24-27.) Circle maintains that the Agreements

address both issues. (See Def.’s Mem. at 18-20.) The Court

finds that these disputes over pre-termination compensation

and post-termination transaction fees are encompassed by the

Agreements.

      Regarding pre-termination compensation, the Agreements

include fee provisions that outline FT Partners’ compensation


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for its advisory services, including any fees due for services

rendered in connection with consummated transactions. (See

SeedInvest Agreement § 2; Circle Agreement § 2.) Moreover,

those     fee    provisions      survive     any    termination      of     the

Agreements. (See SeedInvest Agreement § 6; Circle Agreement

§ 6.) Because the Agreements “contain specific language about

compensation, reimbursement, and the nature of the billing

relationship,” the Agreements “squarely govern[] the dispute

at issue” and “a resort to equitable remedies is therefore

inappropriate.” Seven Hanover Assocs., LLC v. Jones Lang

Lasalle Ams., Inc., No. 04 Civ. 4143, 2008 WL 464337, at *6

(S.D.N.Y. Feb. 19, 2008).

        Regarding      post-termination        transaction       fees,      the

Agreements state that upon a valid termination by Circle, FT

Partners are entitled to any applicable transaction fee for

any transaction that is entered into or consummated by Circle

within the Tail Period, subject to conditions not relevant

here. 5 (See SeedInvest Agreement § 6; Circle Agreement § 6.)

Based    on     FT   Partners’   allegations,       the     respective      Tail


5 The Agreements include provisions stating that following a valid
termination by Circle, Circle could seek reinstatement of the Agreement
in connection with a transaction that was reasonably likely to be signed
within the Tail Period. However, if FT Partners refused to reinstate the
Agreement, FT Partners were not entitled to any transaction fee that had
not already become payable at the time Circle requested reinstatement.
(See SeedInvest Agreement § 6; Circle Agreement § 6.) FT Partners do not
allege that Circle sought reinstatement of either Agreement in connection
with the SeedInvest Acquisition or the May 2022 Capital Raise.



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Periods extend to the transactions at issue – the SeedInvest

Acquisition and the May 2022 Capital Raise – because both

were entered into or consummated within twelve months of

Circle’s respective terminations of the Circle Agreement and

the SeedInvest Agreement. (See Amend. Compl. ¶¶ 230, 256,

260, 267, 287, 300.) Whether FT Partners are entitled to fees

for   transactions      consummated      within   the     Tail   Period   is

clearly encompassed by the Agreements. See Phillips 66 Co. v.

Marine Petrobulk Ltd., No. 23-14, 2023 WL 8800718, at *7 (2d

Cir. Dec. 20, 2023).

        For the reasons discussed above, the disputes between

the parties regarding compensation and fees are within the

scope of the Agreements and are thus precluded by the breach

of contract claims. Accordingly, the Court hereby dismisses

FT Partners’ unjust enrichment claims regarding the Circle

Agreement (Count VI) and the SeedInvest Agreement (Count

VII).

                              IV.      ORDER

        For the foregoing reasons, it is hereby

        ORDERED that the motion (Dkt. No. 72) of defendant Circle

Internet Financial Limited to partially dismiss the Amended

Complaint of plaintiffs Financial Technology Partners LP and

FTP Securities LLC (Dkt. No. 40) is GRANTED. Counts I, IV, V,




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VI, and VII of the Amended Complaint are dismissed without

prejudice.

      The Clerk of Court is respectfully directed to terminate

any pending motions.



SO ORDERED.

Dated:       24 March 2025
             New York, New York




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